Case 9:22-cv-81294-AMC Document 194 Entered on FLSD Docket 12/02/2022 Page 1 of 5




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                 CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

       THE UNITED STATES’ MOTION FOR A ONE-WEEK EXTENSION OF TIME
          PENDING ISSUANCE OF THE ELEVENTH CIRCUIT’S MANDATE

         The United States of America respectfully moves this Court for a one-week extension

  of time of upcoming deadlines pending the issuance of the Eleventh Circuit’s mandate in

  Donald J. Trump v. United States of America, No. 22-13005 (11th Cir. Dec. 1, 2022) (per

  curiam).

         1.      In the above-referenced interlocutory appeal, the panel “conclude[d] that the

  district court lacked jurisdiction to consider Plaintiff’s initial motion or to issue any orders in

  response to it.” Slip op. at 10. “For that reason, we VACATE the September 5 order on

  appeal and REMAND with instructions for the district court to DISMISS the underlying

  civil action.” Slip op. 21.

         2.      Absent a stay or withholding of the mandate, the Eleventh Circuit’s mandate

  will issue next Thursday, December 8. By default, the mandate must issue “7 days after the

  time to file a petition for rehearing expires, or 7 days after entry of an order denying a timely

  petition for panel rehearing, petition for rehearing en banc, or motion for stay of mandate,
Case 9:22-cv-81294-AMC Document 194 Entered on FLSD Docket 12/02/2022 Page 2 of 5




  whichever is later.” FED. R. APP. P. 41(b). But Federal Rule of Appellate Procedure 41(b)

  authorizes a Circuit Court to “shorten or extend the time by order.”

         3.     In this appeal, the Eleventh Circuit shortened the default time within which

  the mandate would issue and ordered the mandate to issue seven days from the date of

  today’s opinion, or Thursday, December 8, 2022: “Absent a stay or withholding of the

  mandate in the appeal to which this order is appended, the clerk is directed to issue the

  mandate after seven days of the date of this opinion.” Order in 22-13005 (Dec. 1, 2022); see

  FED. R. APP. P. 26(a) (days are calendar days, not business days, but must end on a business

  day). Accordingly, unless Plaintiff obtains a stay of the mandate from the Eleventh Circuit

  or United States Supreme Court, the mandate will issue next Thursday, December 8.

         4.     Pending the issuance of the Eleventh Circuit’s mandate, the parties and

  Special Master have deadlines and work that will be rendered moot when the mandate

  issues. The government has a response to Plaintiff’s motion to unseal the search-warrant

  affidavit (D.E. 189), which is due next Tuesday, December 6. Both parties have a response

  to the News Media’s Joint Motion for Access to Unredacted Search Warrant Affidavit

  (D.E. 192), which is due on Wednesday, December 14. And the Special Master is working

  diligently on his report and recommendation, as is reflected in yesterday’s joint filing by the

  parties in response to the Master’s questions (D.E. 193-1), which Special Master report and

  recommendation is due on Friday, December 16 (D.E. 125, at 5).

         5.     If the mandate issues, this Court’s one-week extension of time will conserve

  the resources of this Court, the Special Master, and the parties, consistent with Civil Rule 1,

  which governs this civil action. FED. R. CIV. P. 1 (“They [the Federal Rules of Civil



                                                 2
Case 9:22-cv-81294-AMC Document 194 Entered on FLSD Docket 12/02/2022 Page 3 of 5




  Procedure] should be construed, administered, and employed by the court and the parties to

  secure the just, speedy, and inexpensive determination of every action and proceeding.”)

  (emphasis added).

         6.      If the mandate does not issue, the Court, Special Master, and parties will

  resume work where they left off under the extended deadlines with only one week’s delay.

         7.      Yesterday evening, we wrote to Plaintiff’s counsel and asked for Plaintiff’s

  consent to a motion to stay upcoming deadlines. As of the time of filing of this motion, we

  have not heard back from Plaintiff’s counsel.

                                         CONCLUSION

         For the foregoing reasons, the Court should extend upcoming deadlines pending the

  issuance of the Eleventh Circuit’s mandate in Donald J. Trump v. United States of America, No.

  22-13005 (11th Cir. Dec. 1, 2022) (per curiam). The government suggests an extension of the

  three deadlines in paragraph 4 by one week -- specifically:

         •    The government’s response to Plaintiff’s motion to unseal the search-warrant

              affidavit (D.E. 189) be and hereby is extended to and including December 13,

              2022;




                                                  3
Case 9:22-cv-81294-AMC Document 194 Entered on FLSD Docket 12/02/2022 Page 4 of 5




        •   The parties’ response to the News Media’s Joint Motion for Access to

            Unredacted Search Warrant Affidavit (D.E. 192) be and hereby is extended to

            and including December 21, 2022; and

        •   The Special Master’s report and recommendation (D.E. 125, at 5) be and hereby

            is extended to and including December 23, 2022.

                                           Respectfully submitted,


                                           JACK SMITH
                                           SPECIAL COUNSEL

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                                              4
Case 9:22-cv-81294-AMC Document 194 Entered on FLSD Docket 12/02/2022 Page 5 of 5




                                CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on December 2, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.



                                             /s/     Julie A. Edelstein
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